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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W.R. GRACE & CO., et al.' Case No. 01-01139 (JKF)
(Jointly Administered)

Debtors.

Re: Docket No. 24363
Hearing Date: July 14, 2010 at 10:00 a.m.

Nw Name Nee Ne ene ee eee”

CERTIFICATE OF COUNSEL REGARDING ORDER GRANTING RELIEF SOUGHT
BY THE DEBTORS’ TWENTY-EIGHTH OMNIBUS OBJECTION TO EMPLOYEE
CLAIMS (SUBSTANTIVE) AND REPORT CONTAINING WRITTEN
RESPONSES TO SAME AND RESOLUTIONS THEREOF

1. On February 16, 2010, the Court entered its Order Approving Employee Benefits

Claim Resolution Protocol, docket no. 24304 (the “Protocol Order”), approving procedures for

the Debtors to follow in requesting the Court disallow certain claims (the “Employee Claims”)

filed by employees and former employees of the Debtors as of the Petition Date (the

The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W.
R. Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
Creative Food N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
(f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a
Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
(f/k/a Dearborn International Holdings, Inc.), Grace offshore Company, Grace PAR Corporation, Grace
Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA
Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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“Claimants”).’ On February 25, 2010, pursuant to the Protocol Order, the Debtors filed the
Twenty-Eighth Omnibus Objection to Employee Claims (Substantive Objection) (docket no.

24363) (the “Employee Claims Objection”).

2. On or before March 1, 2010, pursuant to the Protocol Order, the Debtors served
the Notice of Objection to and Treatment of Employee Claims on each Claimant. On June 24,
2010, the Debtors filed the certificate of service regarding the Notice of Objection to and

Treatment of Employee Claims.

3. April 16, 2010, was the deadline (the “Objection Deadline”) set forth in the

Protocol Order by which: (i) non-Claimant parties must have obj ected to the Employee Claims
Objection; and (ii) Claimants must have filed written responses to the Employee Claims
Objection.

4. No objections to the Employee Claims Objection were filed by any non-Claimant
parties prior to the Objection Deadline.

5. Exhibit A contains copies of each of the written responses (with addresses and

telephone numbers redacted, the “Written Responses”) received from Claimants regarding their

Employee Claims. Prior to the Objection Deadline, the Debtors also received one telephonic

response to the Notice of Objection to and Treatment of Employee Claims, which was resolved

by stipulation (together with the Written Responses, the “Employee Responses’’).

* Capitalized terms not defined in this Certificate of Counsel shall have the meaning ascribed to them in, as the

case may be, the Motion of the Debtors for Entry of an Order: (a) Authorizing, but not Requiring the Debtors to
Pay Certain Prepetition (i) Wages, Salaries, Incentive Pay, Bonus Plans and Other compensation and amounts
Withheld From Such Compensation, (ii) Employee Medical, Pension and Similar Benefits, (iii) Employee
Severance Pay, (iv) Workers Compensation Benefits, (v) Amounts Relating to Retiree Health Benefits and (vi)
Reimbursable Expenses; (b) Authorizing and Approving Certain Key Employee Retention Programs on an
Interim Basis; (c) Authorizing Applicable Banks and Other Financial Institutions to Receive, Process, Honor
and Pay All Checks Presented for Payment and to Honor All Electronic Payment Requests Made by the Debtors
Related to the Foregoing (docket no. 19) (the “Wages Motion”), the Motion to Approve Employee Benefits
Claim Resolution Protocol (docket no 24153) (the “Protocol Motion”), the Protocol Order, the Employee
Claims Objection or the First Amended Joint Plan of Reorganization in these Chapter I] Cases, as amended,
docket nos. 19579, 20666, 20872, 20873 and 21594 (the “Plan”).

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6. The Protocol Order requires the Debtors to file, on or before June 25, 2010, a
report regarding the resolution of Written Responses. Exhibit B is that report, and it contains a
summary listing of all Employee Responses and the resolution thereof. In each case where there
was an underlying issue regarding an Applicable Employee Benefit, that issue has either already
been resolved or will be resolved. Each Claimant listed in Exhibit B has withdrawn his or her
objection to the proposed disallowance of his or her Employee Claim(s), which the Debtors have
confirmed in writing to each such Claimant.’

7. Exhibit _C is the form of order disallowing the Employee Claims. It is
substantially unchanged from the form of order attached to the Employee Claims Objection.
Exhibit I to the form of order is the exhibit containing the list of Employee Claims to be
disallowed.

[nothing further on this page]

3 The Debtors have retained a file copy of each confirming letter sent to a Claimant withdrawing his or her

Written Response. The response of Mr. Brian J. Smith (which was telephonic) was resolved by stipulation.

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In view of the lack of objection to the Employee Claims Objection and the resolution of

each of the Employee Responses as set forth above and in Exhibit B, the Debtors respectfully

request entry of an order substantially in the form attached hereto as Exhibit C disallowing the

Employee Claims set forth in Exhibit I thereof.

Dated: June 25, 2010

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